4:09-cr-03117-RGK-CRZ         Doc # 90   Filed: 04/28/10   Page 1 of 1 - Page ID # 398




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                 Plaintiff,               )                  4:09CR3117
                                          )
          v.                              )
                                          )
TRAVES RUSH,                              )       MEMORANDUM AND ORDER
                                          )
                 Defendant.               )
                                          )


    IT IS ORDERED:

    1)    A hearing on Defendant’s Motion to Dismiss Counsel, (filing no. 89), will be
          held before Magistrate Judge Zwart on the 29 th day of April, 2010, at the hour
          of 11:00 a.m. in Courtroom No. 2, United States Courthouse and Federal
          Building, 100 Centennial Mall North, Lincoln, Nebraska.

    2)    The defendant, his counsel, and counsel for the government shall be present
          at the hearing.

    DATED this 28 th day of April, 2010.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge
